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BEFORE THE JUDICIAL PANEL ON MULTIDISTRICT LrrioaTr eee eh Cr THE PANEL

DOCKET NO. 605

IN RE SANI-FRESH LIQUID HAND SOAP TRADEMARK LITIGATION
TRANSFER ORDER

This litigation presently consists of three actions: one action each in the Northern
District of Georgia, Northern District of Ohio and Western District of Texas. Now
before the Panel is a motion by Airwick Industries, Inc., a defendant in the Texas
action, to centralize, pursuant to 28 U.S.C. §1407, the actions in this litigation in
the Northern District of Ohio for coordinated or consolidated pretrial proceedings.
Go-Jo Industries, Inc., the plaintiff in the Ohio action; and Southern Chemical Products
Co., the plaintiff in the Georgia action and a defendant in the Texas action, support
centralization in the Northern District of Ohio. Sani-Fresh International, Inc. (Sani-
Fresh), the Texas plaintiff and the sole defendant in the Georgia and Ohio actions,
agrees that the actions ought to be centralized for pretrial proceedings; however,
Sani-Fresh urges that they be centralized in the Western District of Texas. Minnetonka,
Inc., a defendant in the Texas action, opposes transfer.

On the basis of the papers filed and the hearing held, the Panel finds that the
actions in this litigation involve common questions of fact and that centralization
under Section 1407 in the Western District of Texas will best serve the convenience of
the parties and witnesses and promote the just and efficient conduct of this litigation.
All the actions concern the manufacture and lease of liquid hand soap dispensers by
Sani-Fresh and the sale or distribution of liquid hand soap cartridge refills for use in
these dispensers by Sani~Fresh and other sellers and distributors of industrial and
comercial liquid hand soap. Transfer under Section 1407 is desirable in order to avoid
duplicative discovery, prevent inconsistent pretrial rulings, and conserve the resources
of the parties, their counsel and the judiciary.

We are persuaded that the Western District of Texas is the appropriate transferee
forum for this litigation. We note that relevant documents and witnesses can be found
at Sani-Fresh's headquarters located in the Western District of Texas.

IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. §1407, the actions listed on the
following Schedule A and pending in districts other than the Western District of Texas
be, and the same hereby are, transferred to the Western District of Texas and, with the
consent of that court, assigned to the Honorable Edward C. Prado for coordinated or con-
solidated pretrial proceedings with the action pending in that district and listed on
Schedule A.

FOR THE PANEL:

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Andrew A. CaffZe
Chairman /

       
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Schedule A ©}
MDL-605 -= In re Sani-Fresh Liquid Hand Soap Trademark Litigation

Northern District of Georgia

 

Southern’ Chemical Products Co. v. Sani-Fresh International, Inc., C.A. No. C84-1025A
Western District of Texas

Sani-Fresh International, Inc. v. Minnetonka, Inc., et _al., C.A. No. SA-S4-CA-973
Northern District of Ohio

Go-Jo Industries, Inc. v. Sani-Fresh International, Inc., C.A. No. C83-3436A
